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                                               July 25, 2023

        The Honorable Maryellen Noreika
        J. Caleb Boggs Federal Building
        844 N. King Street
        Unit 19
        Room 4324
        Wilmington, DE 19801

                          RE:   USA v. Biden, Case 23-cr-00061-MN

        Your Honor:

               I represent proposed Amici The Heritage Foundation and Mike Howell. Attached for the
        Court’s consideration is a Motion For Leave to File an Amicus Curiae Brief as well as the Brief of
        Amici Curiae The Heritage Foundation and Mike Howell.

                 I am at the Court’s disposal should there by any questions or concerns.

                                               Sincerely,

                                               LAW OFFICES OF MURRAY, PHILLIPS & GAY

                                               /s/ Julianne E. Murray

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